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                                   UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEW JERSEY

      UNITED STAT ES OF AMERICA
                                                         ORDER EOR CONTINUANCE
                   V   *




                                                         Hon.    William H.      Wai].s
      MITCHELL KURLANDER and
      ALAN ABESHAUS                               :      Crim.   No.    11-cr—315     (WHW)
              An   indict:ment charging the defendants Mitc
                                                            hell Kuriander and
      Alan Abeshaus With,           r3moflq other offenses,       conspiracy to commit
     mail fraud,            in violation Title 18,       Ucited States Code,         Section
      1349,    having been filed in this matter and the
                                                        defendants having
     appeared before the Court for an                 initial appearance on June 6,
     2011 and the Court having released Lhe
                                            defendants on bail on that
     date;     and the defendants being represented
                                                    by William DeStefano,
     Esq.     and Kevin Marine,        Esq.,    respectively;      and counsel being
     aware that            the defendants have a righL to a tria
                                                                l by jury within
     70 days of their arraignment
                                  on the charges,                      pursuant to Title
     18,    United States Code,        Section 3161(c) (1);        and no continuances
     having previously been granted
                                    by the Court;                      the defendants
     hereby request a continuance purs
                                       uant to Tttle 18,                        United States
    Code,     Section 3161 (h) (7) (A)         so that the defendants can review
                                                                                 the
    discoecy to be made available by
                                      the goveL-nment in this matter
    and so the parties can engage in plea
                                          negotiations to determine
    whether a plea agreement car. be reach
                                           ed and thereby avoid a
    trial; the Government having agreed
                                         tq this continuance; and for
    good cause shown;

            IT IS on this                  day                          2011,
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          ORDERED that from the date of this Order,         to and including

     August 17,    2011,   shall be excluded in calculating the time within

     which this case must proceed to Lrial under the Speedy Trial Act

     for the following reasons:

           1.     The defendants,   through their counsel,    have requested

     additional time so that the parties can review the discovery and

     engage in plea negotiations.

          2.      Pursuant to Title 18,   United States Code,       Section

     3161(h) (7) (A),   the ends of jusLice served by granting Lhe

     continuance outweigh the best interest of the public nd the
                                                       /     •i     /
     defendants in a speedy trial.                    ./       //
                                                             :7;
                                                     -




                                           /
                                       MQRI,5 PJJ1AM fi/JATLS
                                       tnited Stdtes tricL Court Judge



     SEEN AND AGREED:




     Eric T.  anef
     Assistant U.S. Attorney




     William DeSt
     Counsel for MI




     Counsel    for ALAN ABESHAUS
